












NUMBER 13-07-357-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


_________ _________________________________________________________


DARLA MARIE SHEFFIELD,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

____ ______________________________________________________________


On appeal from the 36th District Court 


of San Patricio County, Texas.


___________________________________________________________________


MEMORANDUM OPINION



Before Chief Justice Valdez and Justices Garza and Benavides


Memorandum Opinion Per Curiam



	Appellant, DARLA MARIE SHEFFIELD, perfected an appeal from a judgment
entered by the 36th District Court of San Patricio County, Texas,  in cause number S-06-3415-CR.  Appellant has filed a motion to dismiss the appeal.  The motion complies
with Tex. R. App. P. 42.2(a).

	The Court, having considered the documents on file and appellant's motion to
dismiss the appeal, is of the opinion that appellant's motion to dismiss the appeal
should be granted.  Appellant's motion to dismiss the appeal is granted, and the appeal
is hereby DISMISSED.

							PER CURIAM

Do not publish.

Tex. R. App. P. 47.2(b).

Memorandum Opinion delivered and filed this

the 26th day of July, 2007.


